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14                             UNITED STATES DISTRICT COURT

15                            NORTHERN DISTRICT OF CALIFORNIA

16
     MICHAEL VALLIERES, Derivatively on       Case No.: 3:22-cv-02507-VC
17   Behalf of AFFIRM HOLDINGS, INC.
18               Plaintiff,
                                              JOINT STIPULATION AND
19               v.                           [PROPOSED] ORDER TO STAY
                                              DERIVATIVE ACTION
20
     MAX LEVCHIN, JEREMY LIEW, LIBOR     Judge Vince Chhabria
21   MICHALEK, JENNY J. MING, CHRISTA S. Courtroom 5, 17th Floor
     QUARLES, KEITH RABOIS, JACQUELINE
22   D. RESES, JAMES D. WHITE AND
     MICHAEL LINFORD,
23
                 Defendants,
24
                 -and-
25

26   AFFIRM HOLDINGS, INC.,

27                Nominal Defendant.

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                                        1
       JOINT STIPULATION AND [PROPOSED] ORDER TO STAY DERIVATIVE ACTION
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 1          Plaintiff Michael Vallieres (“Plaintiff”), derivatively on behalf of Affirm Holdings, Inc.

 2 (“Affirm” or “the Company”), and Defendants Max Levchin, Jeremy Liew, Libor Michalek, Jenny

 3 J. Ming, Christa S. Quarles, Keith Rabois, Jacqueline D. Reses, James D. White and Michael Linford,

 4 (“Individual Defendants”) and with Affirm Holdings, Inc., Nominal Defendant, (collectively

 5 “Defendants”) and together with Plaintiff (collectively, the “Parties”) jointly submit this Stipulation

 6 to temporarily Stay the Derivative Action (“Stipulation”), and in support thereof state as follows:

 7          WHEREAS, Plaintiff Vallieres filed an action captioned Vallieres v. Levchin, et al., Civil

 8 Action No. 3:22-cv-02507 (N.D.Cal.) purportedly in the right, and for the benefit of Affirm against

 9 all Individual Defendants seeking to remedy Individual Defendants’ alleged breach of fiduciary

10 duties, gross mismanagement, abuse of control, unjust enrichment, and against Defendants Levchin

11 and Lindford for alleged violations of Section 10(b) and 21D of the Securities Exchange Act of 1934

12 (“Exchange Act”), that it is alleged caused substantial harm to Affirm (the “Derivative Litigation”);

13          WHEREAS, pending in the United States District Court for the Northern District of California

14 is a putative securities class action captioned Toole v. Affirm Holdings, Inc., Civil Action No.: 3:22-

15 cv-01243 (the “Securities Litigation”);

16          WHEREAS, there is an apparent overlap between the facts and circumstances alleged in the

17 Derivative Litigation and the Securities Litigation, including the potential relevance of many of the

18 same documents and witnesses;

19          WHEREAS, Affirm and Levchin, named defendants in the Derivative Litigation, are also

20 named as defendants in the Securities Litigation (the “Securities Litigation Defendants”);

21          WHEREAS, the Securities Litigation Defendants anticipate filing a motion to dismiss for

22 failure to state a claim;

23          WHEREAS, in order to ensure economy of time and effort for the Court, for counsel, and for

24 litigants, Plaintiff and Defendants have agreed that, in light of the apparent overlap between the facts

25 alleged in the Derivative Litigation and the Securities Litigation, and that the outcome of the

26 anticipated motion to dismiss in the Securities Litigation may inform the proceedings in the

27 Derivative Litigation, that the Derivative Litigation should be temporarily stayed on the terms set

28 forth below unless and until either (1) the Securities Litigation is dismissed, with prejudice, and all
                                                     2
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 1 appeals related thereto have been exhausted; or (2) the motion to dismiss the Securities Litigation is

 2 denied; or (3) either of the Parties to this Stipulation gives a ten (10) day notice that they no longer

 3 consent to the voluntary stay of the Derivative Litigation.

 4          WHEREFORE, the Parties, through their undersigned counsel, hereby agree, stipulate, and

 5 respectfully request that the Court enter an order as follows:

 6          1.      All Defendants hereby accept service of the complaint filed in the Derivative Action.

 7          2.      The Derivative Litigation shall be stayed upon the Court’s endorsement of this

 8 Stipulation as an Order of the Court.

 9          3.      Defendants shall promptly notify Plaintiff upon becoming aware of any derivative

10 actions or threatened derivative actions, including, but not limited to, Section 220 demands or

11 litigation demands that appear in Defendants’ good faith judgment to be related to the Derivative

12 Litigation.

13          4.      The Parties agree that if the plaintiff in any related derivative action refuses to agree

14 to a stay under similar terms, Plaintiff may lift the agreed stay upon ten (10) days’ notice in writing

15 to the undersigned Counsel for Defendants via email.

16          5.      The Parties agree that during the pendency of this stay, Defendants shall inform

17 Plaintiff promptly upon the scheduling of any mediation or settlement negotiation with the plaintiff

18 in the Securities Litigation. In the event that Defendants are unable for any reason to include Plaintiff

19 in the mediation with plaintiff in the Securities Litigation, then Defendants agree to mediate with

20 Plaintiff in the Derivative Litigation at or about the same time. The Parties further agree that

21 Defendants shall inform Plaintiff promptly upon the scheduling of any mediation or settlement

22 negotiation with any other derivative plaintiffs who have asserted claims substantially similar to the

23 claims asserted by Plaintiff herein, and shall include Plaintiff in any such mediation or settlement

24 negotiation.

25          6.      The Parties agree that notwithstanding this stay of this Derivative Litigation, Plaintiff

26 may file an amended complaint; however, Defendants need not answer or otherwise respond to the

27 Complaint or to any other complaint or amended complaint that is filed in or consolidated with the

28 above-captioned action during the pendency of this stay.
                                                   3
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 1          7.      In the event that Defendants agree to produce, or any of them are ordered to produce

 2 by a court of competent jurisdiction, any documents in the Securities Litigation or in any related

 3 derivative litigation, or pursuant to any shareholder demand for an inspection of books and records

 4 on behalf of Affirm, then copies of such documents shall be provided to Counsel for Plaintiff within

 5 ten (10) days of such production, subject to the execution by Plaintiff of a reasonable confidentiality

 6 agreement governing the use and disclosure of these materials.

 7          8.      Upon occurrence of any of (1) the dismissal of the Securities Litigation, with

 8 prejudice, by the court, and exhaustion of all appeals related thereto; or (2) the denial of any motion

 9 to dismiss the Securities Litigation in whole or in part; or (3) either of the Parties to this Stipulation

10 has given a ten (10) day notice that they no longer consent to the voluntary stay of the Derivative

11 Litigation, then within seven (7) days of the occurrence of any such event or the expiration of the 10-

12 day notice period, counsel for the parties shall meet and confer and jointly submit a proposed schedule

13 for the filing of an amended complaint, if any, and Defendants’ response thereto, and all associated

14 briefing. Defendants are not otherwise required to move, answer, or otherwise respond to any

15 complaint.

16          9.      In the event that Defendants agree to terms or conditions in connection with any

17 stipulation, agreement, or motion to stay a related derivative action that are more favorable to the

18 plaintiff(s) therein, those more favorable terms or conditions shall be deemed incorporated into this

19 stipulation.

20          10.     The parties to this Derivative Action are not waiving any rights, claims, or defenses

21 of any kind, and no part of this stipulation shall be construed as a waiver of any rights, claims, or

22 defenses.

23 Dated: June 6, 2022

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